Case 6:17-cv-02206-CEM-GJK Document 261-1 Filed 07/28/20 Page 1 of 3 PageID 7704




                            Exhibit 1
Case 6:17-cv-02206-CEM-GJK Document 261-1 Filed 07/28/20 Page 2 of 3 PageID 7705


   From:            Evans, Diana
   To:              Bryan Busch; Chris Mills; Laura Mirmelli
   Cc:              Chris Cardwell; Thomas McFarland
   Subject:         RE: NuVasive, Inc. v. Absolute Medical, LLC -- Case No. 6:17-cv-2206 -- Motion for Clarification
   Date:            Tuesday, July 28, 2020 9:17:55 AM


   Morning, Bryan:

   We are filing our motion at 12 EST today. Please let us know Defendants' position before
   then.

   Thank you,
   Diana



   -------- Original message --------
   From: "Evans, Diana" <dnevans@bradley.com>
   Date: 7/27/20 3:21 PM (GMT-05:00)
   To: Bryan Busch <bb@bsms.law>, Chris Mills <cm@bsms.law>, Laura Mirmelli
   <lm@bsms.law>
   Cc: Chris Cardwell <ccardwell@gsrm.com>, Thomas McFarland <tmcfarland@gsrm.com>
   Subject: RE: NuVasive, Inc. v. Absolute Medical, LLC -- Case No. 6:17-cv-2206 -- Motion
   for Clarification

   Hi, Bryan:

   Following up on this one too.

   Thanks,
   Diana

   Diana N. Evans
   Associate | Bradley
   dnevans@bradley.com
   813.559.5522




   From: Evans, Diana
   Sent: Friday, July 24, 2020 2:00 PM
   To: Bryan Busch <bb@bsms.law>; Chris Mills <cm@bsms.law>; Laura Mirmelli <lm@bsms.law>
   Cc: Chris Cardwell <ccardwell@gsrm.com>; Thomas McFarland <tmcfarland@gsrm.com>
   Subject: NuVasive, Inc. v. Absolute Medical, LLC -- Case No. 6:17-cv-2206 -- Motion for Clarification

   Hi, Bryan:

   The Court did not specify in its June 10, 2020 order the time frame for responding to the refiled
   motions for summary judgment. The CMSO provides for 30 days but the local rules provide 14 days,
Case 6:17-cv-02206-CEM-GJK Document 261-1 Filed 07/28/20 Page 3 of 3 PageID 7706


   so we are going to file a motion for clarification asking the Court to clarify the response deadline and
   asking for 21 days to respond in the event the Court states the response deadline is 14 days.

   Ma we represent that Defendants are unopposed to the motion?

   Thank you,
   Diana



                           Diana N. Evans
   Bradley                 Associate
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                           d: 813.559.5522 f: 813.229.5946
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